% A 0 247 (0Z08)Case   8:99-cr-00293-SDM
                 Order Regarding                     Document 131
                                 Motion for Sentence Reduction       Filed 03/25/08 Page 1 of 1 PageID 376

                                           UNITED STATES DISTRICT COURT
                                                             for the
                                                     Middle District of Florida

         UNITED STATES OF AMERICA

                                 v.                                 Case No:           8:99-cr-293-T-23EAJ
                                                                    USMNO:             38624-018
                  MARILYN FAMBRO

Date of Previous Judgment: 811712000                                Defendant's Attorney:    Tracy Dreispul, afpd


            Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. 5 3582(c)(2)

Upon motion of the defendant (Doc. 126) under 18 U.S.C. 5 3582(c)(2) for a reduction of the term of imprisonment
imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive by the
United States Sentencing Commission pursuant to 28 U.S.C. 5 994(u), and having considered such motion,

IT IS ORDERED that the motion is:

0       DENIED.
        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last
        judgment issued) of one hundred thirty-five months is reduced to ONE HUNDRED TWENTY MONTHS or
        TIME SERVED PLUS TEN DAYS, WHICHEVER IS GREATER.

I.   COURT DETERMINATION OF GUIDELINE RANGE (prior to any departures)

Previous Offense Level:                    -
                                           38                       Amended Offense Level:            -
                                                                                                      36
Criminal History Category:                 I                        Criminal History Category:        -
                                                                                                      I
Previous Guideline Range:                  235 to 293 months        Amended Guideline Range:          188 to 235 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
        The reduced sentence is within the amended guideline range.
@       The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at
        the time of sentencing as a result of a departure. The reduced sentence is comparably less than the amended
        guideline range. The mandatory minimum term of imprisonment applicable to count one is one hundred
        twenty months.
0       Other (explain):


Ill. ADDITIONAL COMMENTS

Except as provided above, all provisions of the August 17, 2000, judgment shall remain in effect.


ORDERED in Tampa, Florida, o n                         /1M4h& %SF                                   2008.




Effective Date:
                                                                                 &
                                                                              STEVEN D. MERRYDAY
                                                                                                   w                ~
          (if different from order date)                                  UNITED STATES DISTRICT JUDGE
